Case 3:17-cV-00034-DHB-BKE Document 26 Filed 01/30/18 Page 1 of 8

FH_ED
u. s msimcr count

AUGl USTA Dl\/.
IN THE UNITED sTATES I)ISTRICT COURT
FoR THE soUTHERN I)ISTRICT 0F GEORGIA 2013 JAN 30 m H. 19

 

DUBLIN DIVISION

EQUAL EMPLOYMENT )
OPPORTUNITY COMMISSION, )
)

Plaintiff, ) CIVIL NO. 3:17-CV-00034-DHB-BKE
)
V- )

) CONSENT DECREE

HESTER FOODS, INC., dib/a )
KENTUCKY FR]ED CHICKEN )
)
Defendant. )
l

 

The Equal Employment Opportunity Comrnission (the “Commission”) instituted this
action pursuant to Section lO?(a) of the Americans with Disabilities Act of 1990, 42 U.S.C. §
12117(a) (hereinaiiter, the "ADA“), and Section 102 of the Civil Rights Act of 1991, 42 U.S.C. §
l981a. The Commission’s Complaint alleged that Defendant I-Iester Foods, Inc., d/b/a Kentueky
Fried Chicken (“Defendant”), discriminated against Cynthia Dunson (“Dunson”) by making
unlawful medical inquiries, and subsequently terminating her employment because of her
disability. Dcfenda_nt denies each such allegation

The Cornmission and the Defendant thereby stipulate to jurisdiction of the Court over the
parties and agree that the subject matter of this action is properly before the Court,

The parties have advised this Court that they desire to resolve the allegations in the
Complaint without the burden, expense, and delay of further litigation. Such desire to resolve the
action shall not be deemed as an admission on the part of Defendant.

lt is therefore the finding of this Court, made on the pleadings and the record as a Whole,

that: (l) the Court hasjurisdiction over the parties and the subject matter of this action; (2) the

Case 3:17-cV-00034-DHB-BKE Document 26 Filed 01/30/18 Page 2 of 8

purpose and provisions of ADA will be promoted and effectuated by the entry of the Consent
Decree; and (3) this Consent Decree resolves all matters in controversy between the parties as
provided in paragraphs l through 17 below.

It is therefore ORDERED, ADJUDGED AND DECREED as follows:

1. Defendant shall not discriminate against any person on the basis of disability or
any other protected category Within the meaning of ADA.

2. Defendant shall not retaliate against any person because of opposition to any
practice made unlawful under the ADA or because of the filing of a charge, the giving of
testimony or assistance, or the participation in any investigation, proceeding or hearing under
that statute.

3. Defendant shall pay Cynthia Dunson the sum of Thirty Thousand Dollars
($30,000) in settlement of the claims raised in this action. Defendant shall make payment by
issuing a check payable to Cynthia Dunson. Payment shall be made within thirty (3 0) days after
the Court approves this Consent Decree, and Defendant shall mail the check to Cynthia Dunson
at an address provided by the Commission. Within ten (10) days after the check has been sent,
Defendant shall send to the Commission, a copy of the check and proof of its delivery to Cynthia
Dunson. Neither the Commission nor Defendant make any representation, or assume any
responsibility for any tax liability, assessments, interest, penalties and/or costs that Cynthia
Dunson may or may not incur on such payments under local, state and/or federal law.

4. Within ten (10) days of the entry of this Consent Decree by the Court, Defendant
shall eliminate from the employment records of Cynthia Dunson all documents, entries, or
references of any kind relating to the facts and circumstances Which led to the filing of EEOC

Charge Number 410-2016-00765 and the related events that occurred thereafter, including this
2

Case 3:17-cV-00034-DHB-BKE Document 26 Filed 01/30/18 Page 3 of 8

litigation. Within ten (10) days of the entry of this Consent Decree by the Court, Defendant shall
change all references in its personnel records for Cynthia Dunson from “terminated” to
“voluntarily resigned.” Within fifteen (15) days of the entry of this Consent Decree by the Court,
Defendant shall report compliance with this provision to the Commission.

5. Defendant shall provide Cynthia Dunson with a letter of reference using the form
attached hereto as Exhibit A. Within ten (10) days of the entry of this Consent Decree by the
Court, the original, signed letter of reference shall be provided to Cynthia Dunson at an address
provided by the Commission. Cynthia Dunson is free to disseminate the letter to potential
employers Defendant agrees that if it receives any inquiry about Cynthia Dunson from a
potential employer, it will provide only the information set forth in the letter of reference in
response.

6. Within ninety (90) days of the entry of this Consent Decree by the Court,
Defendant shall adopt, implement, and distribute a fonnal, written ami-discrimination policy,
pursuant to federal equal employment opportunity laws, which shall include but not be limited to
the following: the requirements of federal equal employment opportunity laws; procedures for
reporting discrimination; and a procedure for the prompt investigation of employee complaints of
discrimination Defendant shall distribute to each current employee a copy of the policy within
the aforementioned 90-day time period. Within one hundred (100) days of the entry of this
Consent Decree, Defendant shall report compliance to the Commission. During the term of this
Consent Decree, Defendant shall distribute the policy to all new employees and review it with
them at the time of hire.

7. During the term of this Consent Decree, Defendant shall post a copy of the policy

described in paragraph 6, supra, in all of their restaurant facilities in Dublin, Georgia, in a place

3

Case 3:17-cV-00034-DHB-BKE Document 26 Filed 01/30/18 Page 4 of 8

where it is visible to employees. If the policy becomes defaced or unreadable, Defendant shall
replace it by posting another copy of the policy. Within 100 days after the Consent Decree is
entered, Defendant will post the policy and notify the Commission that it has been posted.

8. During the term of this Consent Decree, Defendant shall provide an annual
training program to all of its managers, supervisors and employees in Dublin, Georgia. Each
training program shall include an explanation of the requirements of the ADA and its prohibition
against retaliation in the workplace. Each training program shall also include an explanation of
Defendant’s policy referenced in paragraph 6 above, and an explanation of the rights and
responsibilities of employees and managers under the policy.

The first training program shall be completed within one hundred twenty (120) days after
entry of this Consent Decree by the Court. Each subsequent training program shall be conducted
at approximately one-year intervals. Within ten (10) days after completion of each training
program, Defendant shall certify to the Commission the specific training which was undertaken
and shall provide the Commission with a roster of all employees in attendance

9. Beginning within thirty (30) days after the entry of this Consent Decree by the
Court, and continuing for one year, Defendant shall conspicuously post the attached Employee
Notice, marked Exhibit B, hereby made a part of this Consent Decree, in a place where it is
visible to employees at its Dublin, Georgia, restaurant facilities If the Notice becomes defaced
or unreadable, Defendant shall replace it by posting another copy of the Notice, Within forty-five
(45) days after entry of this Consent Decree, Defendant shall notify the Commission that the
Notice has been posted pursuant to this provision.

10. During the term of this Consent Decree, Defendant shall provide the Commission

with reports at one year intervals, with the first being due six (6) months after approval by the

4

Case 3:17-cV-00034-DHB-BKE Document 26 Filed 01/30/18 Page 5 of 8

Court of this Consent Decree, This report will advise as to whether any individual's employment
status has been changed in any respect (for example, including but not limited to, termination,
firing, demotion, promotion, or to part-time from full-time status) due to Defendant learning of
an individual’s disability or medical impairment and/or their use of a prescription medication
since the prior report. F or each individual, whose employment status has changed as described
here, the Defendant will provide a detailed statement explaining the reason for the change.

In the event, there is no activity to report pursuant to this paragraph, Defendant shall send
the Commission a “negative” report indicating no activity.

11. The Commission may review compliance with this Consent Decree, As part of
such review, the Commission may, after seventy-two-hours of notice to Defendant, inspect
Defendant’s Dublin, Georgia facilities, interview employees and examine and copy documents

12. If at any time during the term of this Consent Decree, the Commission believes
that Defendant is in violation of the Consent Decree, the Commission shall give notice of the
alleged violation to Defendant. Defendant shall have fifteen (15) days in which to investigate
and respond to the allegations Thereafter, the parties shall then have a period of fifteen (15)
days or such additional period as may be agreed upon by them, iii which to engage in negotiation
regarding such allegations before the Commission exercises any remedy provided by law.

13. The term of this Consent Decree shall be for two years from its entry by the
Court.

14. All notices to Defendant by the Commission pursuant to this Consent Decree shall
be sent by electronic mail to: Minton Hester at hesterfoodsinc@bellsouth.net. If at any time
during the term of this Consent Decree Defendant’s designated point of contact changes,

Defendant shall notify the Commission and provide contact information for a new designated

5

Case 3:17-cV-00034-DHB-BKE Document 26 Filed 01/30/18 Page 6 of 8

point of contact within fifteen (15) days of the change.

15. All reports or other documents sent to the Commission by Defendant pursuant to
this Consent Decree shall be sent by electronic mail to: (l) EEOC-ATDO-decree-
monitoring@eeoc.gov; or (2) if by regular mail to - Antonette Sewell, Regional Attorney, Equal
Employment Opportunity Commission, Atlanta District Office, 100 Alabama Street, SW, Suite
4R30, Atlanta, Georgia 30303.

16. Each party shall bear its own costs and attorney’s fees.

17. This Court shall retain jurisdiction of this cause for purposes of monitoring

compliance with this Decree and entry of such further ord rs as may -be necessary or appropriate

  

e Judge, U.S. Dist'rict Court
Southern District of Georgia

 

Case 3:17-cV-00034-DHB-BKE Document 26 Filed 01/30/18 Page 7 of 8

[on Company letterhead]
To Whom lt May Concern:

Hester Foods, Inc., operates two Kentucky Fried Chicken franchise restaurants in Dublin,
Georgia. Cynthia Dunson was hired as a crew member in March 2015. Ms. Dunson was
promoted to the position of Shitt Leader shortly after hiring and remained employed with Hester
Foods until July 2015. As a crew member and shift leader, Ms. Dunson was responsible for
customer service and food preparation

Sincere]y,

Minton Hester, OWner

 

Case 3:17-cV-00034-DHB-BKE Document 26 Filed 01/30/18 Page 8 of 8

EXHIBIT B

IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF GEORGIA
DUBLIN DIVISION

EQUAL EMPLOYMENT
OPPORTUNITY COMMISSION,

Plaintiff, CIVIL NO. 3:17-CV-00034-DHB-BKE

V.
NOTICE

HESTER FOODS, INC., d/h/a
KENTUCKY FRIED CHICKEN

Defendant.

`/V\./\/VV`/V\-/VVV

 

l. This Notice to all employees of Hester Foods, Inc. d/b/a Kentucky Fried Chicken is posted pursuant to an
agreement with the U.S. Equal Employment Opportunity Commission as part of a Consent Decrce.

2. Federal law requires that employers not discriminate against any employee or applicant for employment
because of the individual’s race, color, religion, sex, national origin, age (40 or older) or disability. Federal law also
prohibits retaliation against employees because they have opposed unlawful employment discrimination, or because
they gave testimony, provided assistance in, or participated in an employment discrimination investigation,
proceeding, or hearing, or otherwise asserted their rights under the laws enforced by the EEOC.

3. Hester Foods, lnc. d/b/a Kentucl<y Fried Chicken will comply with such federal laws in all respects. Hester
Foods, lnc. d/b/a Kentucky Fried Chicken will not take any actions against employees because they have exercised
their rights. reported an alleged violation under the law, or given testimony, assistance, or participation in any
investigation, proceeding, or hearing conducted by the U.S. Equal Employment Opportunity Commission.

An employee has the right, and is encouraged to exercise that right, to report allegations of employment
discrimination in the workplace An employee may contact their local U. S. Equal Employment Opportunity
Commission field office for the purpose of filing a charge of employment discrimination, To locate the nearest field
office, contact:

Equal Employment Opportunity Commission
131 M. Street,NE
Washington, DC 20507
TEL: l-800-669-4000
TTY: 1-800-669-6820

This Notice will remain posted for at least one (1) year by agreement with the U.S. Equal Employment Opportunity
Commission. DO NOT REMOVE THIS NOTICE UNTIL: ,2018.

 

